           EXHIBIT D




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SHARON HAWKINS, derivatively on behalf of
MËDAPPI{OACH, L.P. and individually,

               PIaintffi

                                                                Case   No,: 1 :13-cv'5434-ALC-DCIT
MEDAPPROACH HOLDINGS, lNC., and W.
BRADLEY DANIEL,

               Deþndntts,

       -and-

MEDAPPROACH, L.P.,

               Nominal DeJbndanl.




 DBCLARATTON OF I}R.A,J}LBY DANIEL IN SUFPOIìT Ort ÐEFENDAN'rS' ùIOTIOry
               'l' O ItN r,'ORCI¡l SUT" I' lEM ENT AGIIEII M liNI'



       I, W. Ðradley Daniel, hereby declare and state as follows:

        l.     I am the principal   and owner   of MedApproach Holdings, lnc. ("MedApproach

Holdings"). I respectfully submit tlris declaration in support of   De   fendants' Motio¡r to Enlbrce

Settlenrent Agreement. I nrake this declaration of my own personal knowledge and,        if salled   and


sworn as a witness, I could and would testiff competently to the ntatters set forth herein.

       2.      On Decen:ber 20,2011, Ir4edApproach lJoldings filed a larvsuit in the Unitecl

States District Court lor the Middle District of 'femessee against Gregory D. Flarvkins and

Sharon Hawki¡rs, captioned lufedAppraach l-lolding.r, I¡tc. t,. Gregory atzcl Sharon Hctv,kins, Casc

No. 3:11-cv-l199 (the "TN Lawsuit"), asserting, among other things, that the I'lawkinses fhiled




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to pay ma¡tagement a¡rd other l'ees owed to MedApproach Holding. Attached hereto as Exhibit

A is a true and correct copy of the complaint filed in the TN Lawsuit,

         3.    On August 2,2A13, shortly after the       'lN   Lawsuit survived cedain dispositive

motions, Sharon l-lawkins fited a lawsuit in retaliation in thc United States District Court ficr the

Soutlrern District of New   York against MedApproash l{oldings and nryself, captioned         Sharo¡t

Hav,kíns ott behalf of MedApproach, L.P. v. luÍedApproach Holdings, Inc. and lY, ßradley

I)aniel, Civil Action No. l:i3-cv-5434-ALC (the "NY Lawsuit").

         4,    The   NY Lawsuit   asserted, anrong otlier things, a challenge to i¡ proxy that   I   htlid

to vote and control the shares of ND Management, Iuc. ("NDM"), which is the general partncr            o1'


an entity called Danco Investors Group ("Danco"), This proxy gave the proxy holders colrtrol

over the enterprise consisting of various corporate entities, which was created to protccl the

confìdentiality of the investors, given the controversìal nature of the pharmaceutical ¡lroduct thc

corporate entities we¡e developing and selling. The        NY Lawsuit also ciaimed breaches ol'

MedApproach's Li¡nited llartnership Agreenrent and certain fìduciary duties due to alleged

failure to rnake certain distributions, and because of taxation on NDM due to ils slatus as a "C

Corporation," Attashed hereto as Exhibit B is a true and co¡rect copy of the complaint hled in

the   NY Lawsuit.

         5.     Followirrg the filing of the TN Lawsuit and the NY Lawsuit, MedApproaclr

Holclings has engaged i¡r numerous negotiations with Mr, and Mrs. I-lawlcins in order to resolve

our differe¡rces. This included an unsuccessful settlement co¡rference beflore Magistrate Judge

Freeruan on December 12,2014,

         6.     On November 30,2015, the Court issued the second motion to dismiss in this

case, once again disnrissing tlre proxy-related claims   of tlre Plaintiff, Following that dismissal,




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counsel fbr the parties again discussed the possibility of reaching a global settlement that would

dispose of all remaining issues i¡r botli the'l'N Lawsuit and the   NY Lawsuit.

       7.       After some discussion of whether we should rnediate or eugage in a private

negotiation, the pa{ies decided to meet in Nashville for the private, face{o-fbce settlement

conference. On February 2,2076, I attended a day-long settlemeut conference at the Offices of

Waller Lansclen, my     ¿Tttorneys,   in   Nashville, Tennessee. r\lso prese¡tt       at thc   scttlenlent

conference were Gregory Flawkins and his counsel,        llill   Ilamsey, as well as my counsel, Bob

Boston and Jefhey Simes, and Angelia Van Vranken, who is thc Chief Financial Officcr lor

several of the corporate entities involved in this case, Mr. Flawkins rvas attending on behalf          of

himself and his wifþ, Sharon l{awkins, although both were invited to the conference. Our stated

pur?ose for holding the conference was to attempt to reach a global settlement that rvould resolve

all oi'our various disputes and the two lawsuits.

        L       At the end of the day, ivlr. Hawkins and I        reached an agrcement     to settle   our


clisp¡tes and dismiss the two cases. Togetlter, and with the assistancc of our counsel, ivc jointly

marked up and initialed Mr. Simes' Septernber       l6,2014letter, which was       a settlcment coullter-

proposal    to Mr, Ramsey's September 5, 2014 settl€ment proposal, We memorialízed                     tì1s


agreement in writing because ',ve had had several failed attempts at settlement and did not want

this agreement to lail for lack of a settlement document. Tl:e tenlrs that lve agreed to               on


February 2,2A16 were meiltorialized in the settle¡nent letter along with hand-written r:otations by

Mr. Simes and Ms. Van Vrarrken on the letter, rvhich rvere nrâde in the prcsence and with the

agreenrent of Mr. Hawkins and his counsel. Mr. Flawkins and I, as         well   as our attomeys present


at tlre F'ebruary 2, 7û16 settlenre¡:t conf'erence, initialed each page of the marked-up Ictter lo

evidence our intent to be bound by the setttement terrns, Mr. Halvki¡ls' initials are the "GI)l'1"




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tlrat appear the second from the leli on the botto¡l oi'each page. My initials arc to thc right of

Mr. Hawkins'.

         g,        'We
                         eoncluded the settlement conference in a friendly manner. We all shook

hands and congratulated each other on the settlemcnl. We discttssed our plans to work together

as pet the Settle¡nent r\greement, and exchangeci encouraging words aìrout resunring our

rvorki¡g relationship. Attached hereto as Exhibit C is a tn¡e and correct copy of the settlerncnt

letter fhat we initialed and signed at the February 2,7Ù16 settle¡:rent conference.

          10.      As part of the February 2,,2016 settlement agreentent, Mr. ilawkins a¡ld I agreed

to clismiss both the NY Lawsuit and the TN Lawsuit. We also agreed to all monetary and non-

¡1onetat'y terrns releva¡t to corporate govemance and reorganization, corporate disclosures, and

nronetary payments. No terrns or issues werc           lclì fbr the partics to discuss, Notably,     rvith


respect   to corporate governance and        organization, we specifically agreed to convert N,l).

Management, Inc. ("NÐM") into an S Corporation, and we agreed that Ms, Flawkins, as a

bencficial c)$r'ner, would receive non-voting shares of NDM, whereas             I   would receive voting

shares    of NDM. We specifìcally          agreed that   I    rvould receive the voting shares ancl tlte

Halvkinses would receive non-voting shares because that would ¡nt¡st closely replicatc the

existirrg governance structure      of the parties' art'al¡genlent, which     was not otherwise to bc

disturbecl. Although the Hawkinses had previously refused to accept the idea of non-vcting

shares, they agreed to      it on February 2,2016   as part   of the settlement, presumably because they

had lost on their ¡rroxy-related claims.

          I   l.   We also agreed that we woutcJ reorganize NDM {ì'om a C Corporation into an S

Corporation. This was so¡nething         Lhe Hawkinses requested, because        they believed   it woulcl

reduce taxes.




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         12.         Although our Settlement Agreement contained all of the materials ternis of the

coryorate changes we were agreeing to,          it   was not practicable for tts to drafl thc Settlernent

Agreement at the settlement conference so that          it itself could serve   as the corporate documeu{s

that would bring about those changes, especially in light of my fìduciary duties to tlre NDM

investors to ensure that the instrument that they invested in      (l'lDM) *,ould    be properly converted.

Accordingly,     \.ve agreed   that our attorneys would bring about the tenus Mr. I-lawkins and I had

aglced   to.   Thus, Mr. llawkins and I added the hand-written note "subject to attorney revielv and

discussion" next to provision 1.8 of the settlement letter regarding the distribution of voting

sbares because we knew that our attorneys woulcl neecl 1o draft and execl¡le corporate docutncnts

to allow for the clistribution of NDM sltares pursuant to our agreement. Notably, we did not say

that the parties would discuss it, because there was nothing leli for the parties to discuss.         All   that

lvas left was for lhe lawyers to finalize the basic forms that needed to be compieted to irnpien'rent

or¡r settler¡rent.

         13.         Soon after the Settlement Agreenrent was rcached, hotvever, the llarvki¡rses

apparently had something           of a change of heart.       When we seut them the more formal

documentation we had contemplated in the Settlement Agreement, the l-lawkinses started to

indicate that they wanted to change the deal we had agreed             to.   Specifically, eveu though we

agreed on February          2, 2A16 to maintain the corporate governa¡rce structure and give                the


Hatvlcinses non-votirrg shares of NDM, they norv insisted on a "veto            right"-lhat   is, not mercly   a


voting shaLe, but voting controll When we declined to accede to this new tcnns, the l-larvkinscs

asserted that the Settlement Agreement was not a settlenre¡lt agreement,

         14.         For instanee, I am aware that o¡r April 26, 2016, Ms. I-Ia"vkins' counsel e-mailed

my counselrvitlr a list of demands for inclusion in the corporate docunre¡rts. I ant also aware that




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tvfs. I-Iawkins' counsel sent a¡lother e-mail on February 8, 2017, tecirculating this list of denlands

that Ms. Hawkins felt "was necessary . . . in order to linalize a settlement." I am aware that Ms.

Hawl<ins' counsel specifically conveyetl her denta¡td to re-negotiate a veto right th*t was

previously rejected in the settlenrcnt agreement.     I   anr also aware that rny counsel, lv{r. Si¡nes,

objected to the Harvkinses' cou¡rsel that a veto right was not part of the Scttlement Agreenrent,

and filrther, he ¡rointed out that there was no basis to alter the control mecha¡risnrs of the parties'

corporate entities because the Court had dismissed the proxy-related clairlls,

          15.   Despite these difiìculties,   I held up my cnd of the bargain. On October 11,2016,

MedApproach Holdings and I dismissed thç TN Lawsuit with prejuclice pursuunt to the irebruary

2,2t16    Settlement Agreement. Attached hereto as Exhibit D is a true and correct copy of the

sripulation of dismissal filed in the 'IN Lawsuit. Also attached hereto as Exhibit Iì is a true and

correct copy of the Order of Dismissal filed in the 'l'N Lawsuit.

          16. i also held up my enci of the bargain by causing Danco to tender two $50,000
payments to Mr" I-lawkins as called fbr under the Settlement Agreemçnt-o¡re for his sewices to

Danco in 2015 and one for his services 10 Danco i¡r 2016, Specifìcally, on October             ll,20lÓ,

Ms, Van Vranken mailed Mr. Hawkins a letter enclosing a $50,000 check fbr Mr. Harvkins

"services to Danco Investors Group in 2015'o and "[p]ursuant to the settlement agreement signed

on February 2,     2Aß,"     Similarly, on December 12, 2016, Ms. Van Vranken rnailed Mr.

Liawkins' another 550,000 check "[p]ursuant to the settlentent agt'eenrent signed on I'ebruary        2,


2A16' for Mr, I-lawkins' "serviccs to Danco Investors Crou¡r in 201 6." Danco nrailed these two

clrecks   to Mr. I{arvkins pursuant to Section 3 of the February 2,2A16 Settlement          Agrcement,

which required Danco to pay Mr. I-Iarvkins a $50,000 "retroactive paymetlt for 2015 plus             per


aruluÍy¡ going f'orwa¡d." 'l'o my knorvledge,    Mr. Hawki¡ls did not relum either check nor dicl     he




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explicitly object to them being sent. Attached hereto as Exhibit F is a true and correct copy of

the Octobcr     ll,2016   ietter &orn Me. Van Vranken to Mr. Hawkins thst ensloscd the $50,000

check payable to Greg Hawkins. Also attached hereto as Exhibit G is a truc and correct copy            of
the December 17,2016letter f¡om Ms, Va¡r Vranken to Mr. I{awkins that enclosed the second

$50,000 check payable to Greg Hawlcins.

        1'7.     On December 5, 2016, Mr. Simes frled, on Defendants' behalf, a        joi¡t       status

report letter with the Coun, stating that "[t]he Defendants are in the process of preparing new

corporate documents for the entify calied ND Management, Inc, as part            of the settlenrent
process." Attached hereto as Exhibit FI is a tme and correct copy of the December 5, Z0l6 lettcr

from Mr. Simes td Judge Andrew L. Carter.

        18,      Following the February 2, 2016 settlemsnt conference,    I    was aware that        the

parties' counsel were drafti¡g corporate documents to effech¡ate the settlement terms, namely the

re-organization of ND Management, Inc. as an S Coçoration. Nonetheless, all of the material

tor¡ns of the settlernent hed boon reûohod and memorializod in the FebruLry
                                                                                ?,2016 Se$lenrent
Agreement. All that remained to be done was for the lawyers to prepare the necessary forms to

implement it.

       Ï   declare under penalty   of perjury under the laws of the State of   Tennessee that the

foregoing is fue and correct. Executed this 3rd day of March, 2017, at Nashville,

                                                                                               \

                                                     W. Bradley




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           GOODWIN                                       Jeflrey  Simes
                                                         ¿12 813,8879                           Counsdorr at law
                                                         lsrnns(}goodwl nprocter.com            Tho N€w York llmes Bulldlng
                                                                                                620 Elghth Avenuo
                                                                                                Now York, NY 10018
                                                                                                T   212,813.8800
                                                                                                F:212 355 3333




           Septernber 16,2014



           VIA EMAIL AND        U.S.   MAIL
           R. Scon Thompson, Esq.
           Loweirstein Sandler LLP
           ó5 Livingston Avenue
           Roselånd, NJ 07068

                   Re:   MedAnnroacb. L.P. ¡nd N.D' Manasement.Inc.

           Dear Scott:

           This is a privileged settlement cornmunication responding to your settlement proposåt of September 5,
           20t4.

           The Deftndants aro prepared to settle thc New York and Tennessee lawsuits on the frrllowing terms. TVe
           have attempted to use the format of your September 5 proposal for ease of reference.

           l.      Corporate Governance and Reorganization of N,D. Managementr Inc. ('(NDM")

                   A     NDM will be reorganized as an S Corporation - \rt"å'
                   ib                                                                -;;,tC;
                         Pro rata distributio¡ of non-voting shares of NDM to benelicial
                                                              (â{ä' ä
                                                                                         owners with voting
                                                                                                   },> .æã,v^¡
                         shares disributed," äirãî*i;i"'                   äl'ted€t,
                   c                                                                          ^d
                         Installation of an advisory board fior NDM to include Sharon and/or Greg Hawkins and r                 \
                         others mutually agreed upon, Members would be reimbursed for travel and expenscs            -   r¡gite$t
                   D.    Certain matters or decisions would roquire consultatron wlth thg Advisory      Board,                W l.&'
v, Pzl,
f,9¿,t5i                 includingbutnotlimitedtopartnerdisributions. - fiêdt.Q',cd                                            "cÅ'
                   E.    Plaintiff consents to ce¡tain compensation as appropriate and consistent with the paflies'           nÍ{
'4!                      agr€ements,    including:
                                                                                                                   Group, ft íI
                                                                                                                               fu41
AV{h,tp'rl               a)      Base compensation for Brad Daniel to manage NDM and Danco Investors
"geraav[fa¡                      L.P. ("Danco") at a base of $455,411.57 per year, with increases and other        terms
      d;
'F¿nú\Àf                         as conte,mplated in the parlies'agreements and in particular Section l5d of the
    \)ac¿                        Danco Partnership Agreønent. - +Àc6't'ÂirdÈ
                         (b)     Continued participation in management incentive plans and other benefit plans           -ÊEsrd
                         (c)     As contemplated in the Certain Compensation Matters Agreønent, Danco will
                                 compensate Brad Daniel, at customary market rates, for such additional special
                                 services as he may provide to the Partrenhip from time to time in connection



           w'iT¿.
                               Qo ¡t           -s\
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             GOODWIN                 PROCTER
             R. Scott Thompsor¡ Esq.
             September 16,2014
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                                     with such matters    public offenngs, mergers, sale of assets, acquisition of
                                                         as
                                     products and/or assets, and other business combinations and raising of capital. q\€DK
                                     For example, Plaintiffagrees that Brad Daniel will be compensated $T$É00+er
                                     year for mansgement servicss to be provided     @d                                              w
                                     Ehermeeeutþelsr
                                                                                                        \                       ËJ'/'ò$t\l
                                                                                           Atr\etsrà-*,
             )        Dlsclosures,   etc.                                                  cnitt b>r*'si          f\es \
                      A.     NDM will provide financial statements to Sharon/G*g. ,NqSo"A  -
                      B.     Additional disclosures as to MdApproach to be provided as agreed upon by the pafies' Pßll4
                      C.     Greg/Sharon will be re-invited to attend Danco Investors Group Boa¡d          Any
                             travel expenses required to attend said meetings will be reimbursed by Danco-
                                                                            t' Ie co¡4p¿ Oara^Eul tfS V ß,oar {Dn
             3.       Payments by SharonlGregHtwkins

                      A               will          5k to
                                                                      fof
                                                                             l" b | ¡
                                                                                           1o
                                                                                           past
                                                                                                  g5c t*t pavo > t ¡cþ'¡ø,h
                                                                                             settle         and   NY                w
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                                                                                                                            claim   /'vt
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                             the                This                                  of                          to (and thus      tl       ,
                                                                                parties         that this              be           ¡a.kflrdL
                             born     the LPs
                                        out to                other

             4.       Both lawsuits (SDNY and MD Tenn) ter¡nln¡ted with general rele¡ses exchnnged, carving
                      out ongoing obligntlons undsr the MedApproach Limited P¡rtnershlp Agreement.
             'We
                   would be happy to discuss this counterproposal with you at your convenience.

             Sincerely,
                       j'/""^'
             /'/"/
             Jefüey A. Simes




             VJ      1 (¿"
                                                '--<
                                                         A-
                                                   f-d-'.--.
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